        Case 1:24-cv-00235-N/A                           Document 1       Filed 12/13/24            Page 1 of 4
                                                                                                             Form 1-1
UNITED STATES COURT OF INTERNATIONAL TRADE                                                    FORM 1

  Masterank America Inc.

                                            Plaintiff,
                                                                               SUMMONS
          v.                                                                   Court No. 24-00235

  UNITED STATES,
                                            Defendant.

TO:      The Attorney General and the Secretary of Homeland Security:

       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
U.S.C. § 1581(a) to contest denial of the protest specified below (and the protests listed in the
attached schedule).
                                                       /s/ Mario Toscano
                                                       Clerk of the Court


                                                           PROTEST
 Port(s) of                                                      Center (if known):
 Entrv:
                    2809
 Protest           2809-22-109824                                Date Protest Filed:    12/13/2022
 Number:
 Importer:          Masterank America Inc.                                       .
                                                                 Date Protest Derued:
                                                                                        03/04/2024

 . .
 Category of
   ,       ..:ljC!i:JI,•
                           Paraffin Wax (Saturated Wax MR3200)



                                     ENTRIES INVOLVED IN ABOVE PROTEST
        Entry                     Date of           Date of          Entry                Date of         Date of
       Number                      Entrv          Liquidation       Number                 Entrv        Liquidation
CHQ08090062                   08/18/2021        06/07/2021




                                                                    Lawrence W. Hanson
                                                                    1330 Post Oak Blvd, Suite 1225
                                                                    Houston, TX 77056
                                                                    Email: lwhanson@lwhansonassociates.com
                                                                    Phone: 713-961-8023

                                                                   Name, Address, Telephone Number
                                                                   and E-mail Address of Plaintiffs Attorney
       Case 1:24-cv-00235-N/A                   Document 1             Filed 12/13/24              Page 2 of 4
                                                                                                            Form 1-2

                            CONTESTED ADMINISTRATIVE DECISION
                                       A     raised Value of Merchandise
                                            Statuto     Basis                          Statement of Value
                               N/A                                             N/A
  Appraised:



                               N/A                                             N/A
  Protest Claim:



                                        Classification Rate or Amount
                                            Assessed                                   Protest Claim

     Merchandise          Tariff Classification            Rate            Tariff Classification             Rate

 Saturated Wax 2712.20.0000                             7.5%              2712.20.0000                   0%
 (MR3200)




  The issue which was common to all such denied protests:



Every denied protest included in this civil action was filed by the same above-named importer, or person authorized under
19 U.S.C. § 1514(c)(2). The category of merchandise specified above was involved in each entry of merchandise included
in every such denied protest. The issue or issues stated above were common to all such denied protests. All such protests
were filed and denied as prescribed by law. All liquidated duties, charges or exactions have be    aid.



                                                                  • nature ofPlaintiffs Attorney

                                                                      / 1 / i 1 11 '"i
                                                                   Date
              Case 1:24-cv-00235-N/A             Document 1       Filed 12/13/24       Page 3 of 4
                                                                                                 Form 1-3


                                          SCHEDULE OF PROTESTS


       Center (if known)



 Protest               Date Protest   Date Protest   Entry              Date of         Date of         Port
 Number                Filed          Denied         Number             Entrv           Liauidation     Code

                       12/13/2022 03/04/2024         CHQ0809006        08/18/2021       06/07/2021 . 2809
                                                     2




(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017; June 22, 2021, eff. July 26, 2021.)
      Case 1:24-cv-00235-N/A            Document 1         Filed 12/13/24        Page 4 of 4




                                               Other


State Specifically the Decision [as Described in 19 U.S.C. § 1514(a)] and the Protest Claim:


U.S. Customs and Border Protection ("Customs") denied the protest filed on behalf of Masterank
America Inc. ("Masterank") by Ernst & Young LLP ("EY"), which contested the designation of
China, rather than Taiwan, as the country of origin on the CF-7501. The protest claimed that
Taiwan, rather than China, was the appropriate country of origin.

Prior to the retention of the undersigned, the administrative protest was submitted but lacked the
necessary context and legal analysis to demonstrate that the substantial transformation processes
performed in Taiwan established Taiwan as the correct country of origin. As a result, Customs
erroneously determined that China was the country of origin, subjecting the imported goods to
Section 301 duties of 7.5%. These duties should have been refunded, as the proper country of
origin is Taiwan, which is exempt from such tariffs.

Although the protest was denied on March 4, 2024, Customs failed to issue proper notice of the
denial in accordance with 28 U.S.C. § 2636. Neither Masterank nor EY received notice of the
denial until June 18, 2024 via email. As a result, the deadline to file a claim contesting the denied
protest is extended to December 15, 2024.
